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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NORTH DAKOTA
                                  NORTHEASTERN DIVISION

United States of America,                       )
                                                )
                         Plaintiff,             )               Case No. 2:07-cr-35-03
                                                )
                -vs-                            )      ORDER ADOPTING REPORT AND
                                                )          RECOMMENDATION
Martin Whitetail, Jr.,                          )
                                                )
                         Defendant.             )

       The undersigned judge referred to the magistrate judge for preparation of a Report and

Recommendation disposition regarding the petition for revocation of supervised release. The

Court has received a Report and Recommendation from the Honorable Alice R. Senechal, United

States Magistrate Judge, pursuant to 28 U.S.C. § 636, recommending that Whitetail’s supervised

release be revoked, and that he be ordered to serve eight months in custody (Doc. #181). Neither

party objects to the recommended disposition (Docs. #182, 184).

       The Court has reviewed the Report and Recommendation, along with the entire file, and

finds the Magistrate Judge’s analysis and recommendations are appropriate. Accordingly, the

Court hereby adopts the Report and Recommendation in its entirety. For the reasons set forth

therein, the Court finds that Whitetail violated conditions of supervised release. Consequently,

Whitetail’s supervised release is revoked and he is ORDERED to serve a term of imprisonment

of eight (8) months with no additional term of supervised release. The Court recommends that

Whitetail be allowed to serve his time at the Lake Region Law Enforcement Center.

       IT IS SO ORDERED.

       LET JUDGMENT BE ENTERED ACCORDINGLY.

       Dated this 30th day of August, 2011.
                                                     /s/ Ralph R. Erickson
                                                     Ralph R. Erickson, Chief Judge
                                                     United States District Court
